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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE NORTHERN DISTRICT OF OKLAHOMA

In Re: Lott, Charles Dennis, ) Case No. 17-12124-M
) Chapter 13

MOTION FOR RELIEF FROM AUTOMATIC STAY
AND ABANDONMENT OF PROPERTY, OR ALTERNATIVELY
SEEKING ADEQUATE PROTECTION AND BRIEF IN
SUPPORT THEREOF, DISCLOSURE STATEMENT
AND NOTICE OF OPPORTUNITY FOR HEARING

Comes now MARK WHITEHEAD, Personal Representative of the Estate of Clara Lee

Shawn, Deceased, (hereinafter referred to as Movant) and pursuant to the provisions of Title 11

U.S.C. §§ 631, 632 and 554, moves the Court to grant it relief from the automatic stay and order of

abandonment of the subject property, or in the alternative, to require Debtor to provide adequate

protection of Movant’s interest in certain collateral.

In Support of its Motion, Movant alleges and states as follows:

i. That the original maker, for a good and valuable consideration, made, executed and

delivered to the Payee, a certain written purchase money promissory note; a true copy

of said note and endorsements thereon, if any, is hereto attached, marked “Exhibit

A”; and made a part hereof.

2. As a part of the same transaction, and to secure payment of said note and the

indebtedness represented thereby, the said makers, being then the owner of said

property hereinafter described, made, executed and delivered to the Movant:

Surface and surface rights only in and to:

SE/4 Section 33, Township 18 North, Range 8 East of the Indian
Base and Meridian, Creek County, State of Oklahoma, according
to the US Government Survey thereof, containing 160 acres

more or less.
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A true and correct copy of said mortgage is attached hereto, marked “Exhibit B”, and
made a part hereof.

3. Movant is the current owner and holder of the note and mortgage above referenced.

4, Default has been made upon said note and mortgage. Movant filed
a foreclosure action in Case No. B-CJ-2016-33 in the District Court of Creek County,
Bristow Division. Movant obtained Default Judgment against Debtor and his wife,
Loretta Beth Lott, on July 24, 2017. The total balance owed Movant upon said
Judgment for principal, interest, attorney fees and costs is $350,998.59.

Bi The lien of Movant constitutes a valid first mortgage against the subject property,
prior and superior to any right, title, lien, estate of interest of the Debtor or any other
party.

6. In addition to the sum owed to Movant as described in paragraph 4, the subject
property is encumbered by a tax lien filed by the OTC in the principal sum of
$21,316.01 together with interest from and after September 28, 2010. That lien is
recorded in Book 732 at Page 1964 in the Creek County Clerk’s office. Additionally,
the subject property is encumbered by four (4) tax liens filed by the IRS in the total
principal sum of $489,442.45 together with interest beginning May 18, 2010. Those
liens are recorded in Book 722 at Page 432; Book 913 at Page 777; and, Book 922
at Pages 837 and 838, all recordings are in the Creek County Clerk’s office.

we The Debtor has no equity in the mortgaged property. Specifically, Debtor purchased
the subject property from Movant for $515,000.00 in April, 2015, and the property

appraised for $500,000.00 in the pending foreclosure action. The property is
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encumbered by Movant’s first mortgage and the tax liens in a sum in excess of

$860,000.00.
8. The mortgaged property is not necessary to an effective reorganization.
9. Movant will suffer irreparable injury, loss and damage unless the automatic stay is

terminated so as to permit Movant to commence with its action, or in the alternative,
the Debtor be required to provide Movant with adequate protection of its interest in
the mortgaged property.

10. The mortgaged property is burdensome to the estate or is of inconsequential value to
the estate and it is therefore in the best interest of the estate and the Debtor that relief
from the automatic stay be granted and that the mortgaged property be abandoned so
as to permit Movant to proceed in State Court with an action.

11. You are hereby notified that you have 15 days from the date of the filing of this
motion to file a written answer or objection to the requested relief. If no answer or
objection is timely filed the Court may grant the requested relief without further
notice. The 15 day period includes the 3 days allowed for mailing provided by Rule
9006(f) Fed. R. Bankr. Proc.

WHEREFORE, Movant moves this Honorable Court for an Order vacating or modifying the

automatic stay herein as provided by 11 U.S.C. Section 362 and directing the Trustee herein to
abandon the mortgaged property as authorized by 11 U.S. C. Section 554 as so to permit Movant and

other interested parties to enforce their liens against the mortgaged property or in the alternative to
Order the Debtor to provide Movant with adequate protection of its interest in the mortgaged

property as required by 11 U.S.C. Section 361 and 362.
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LOEFFLER) ALLEN & HAM

By:

 

Sam T. Allen, [V (OBA#232)
PO Box 230

Sapulpa, Ok 74067-0230
Attorney for Mark Whitehead,
Personal Representative
Sapulpa, Oklahoma

NOTICE FOR OPPORTUNITY FOR HEARING

Your rights may be affected. You should read this document carefully and consult your
attorney about your rights and the effect of this document. If you do not want the court to
grant the requested relief, or you wish to have your views considered, you must file a written
response or objection to the requested relief with the Clerk of the U.S. Bankruptcy Court for
the Northern District, 224 S. Boulder Ave., Suite 105, Tulsa, Ok 74103, 15 days from the date
of the filing of the request for relief. You should also mail a file-stamped copy of your response
or objection to the undersigned Movant’s attorney [and others who are required to be served]
and file a certificate of service with the Court. If no response of objection is timely filed, the
Court may grant the requested relief without a hearing or further notice. The 15 day period
includes the 3 days allowed for mailing provided for in Rule 9006(f) Fed. R. Bankr. Proc.

CERTIFICATE OF SERVICE

  

[hereby certify that on this 30th day of October, wi , file stamped copies of the above and

foregoing Motion were mailed, postage prepaid, to all parti¢s on the attached service list.

 

Sam T. Allen, IV
es

 

$315,000.00 Bristow, Oklahoma

Date: Aye zL , 2015

FOR VALUE RECEIVED, the receipt and sufficiency of which is
hereby acknowledged, in installments and at the times hereinafter
stated, I, we, or either of us; jointly and severally, promise to
pay to Mark Lee Whitehead, Personal Representative of the Estate of
Clara Lee Shawn, deceased, or order, at P. O. Box 1115, Drumright,
Oklahoma 74030, the principal sum of $315,000.00, with interest
from date hereof on-the amounts “of: principal remaining unpaid, at
the rate of 7% per annum until paid. Principal and interest shatl
be payable in installments as follows:

$1,800.00 on the Znd day of MAY, 2015, ana
$1,800.00 on the Dad day of each and every month
thereafter for 17 months, together with a final payment
of all remaining principal and accrued interest due on
the 2 day of OiiAw Bet” , 2016.

This Note is secured by a Purchase Money Real Estate Mortgage
With Power of Sale of even date hereof covering:

Surface and Surface Rights Only In and to

The SE/4 of Section 33, Township 18 North, Range 8 East
of the Indian Base and Meridian, Creek County, State of
Oklahoma, According To The U. S. Government Survey
Thereof.

Each payment shall be credited first, on the interest then
due, and the remainder on the principal sum, and interest shall
thereupon cease upon the amount so paid on the principal sum.
Should default be made in the payment of any of said installments
when due and should the same remain past due for more than 15 days
from the due date, then the whole sum of principal and interest
shall become immediately due and payable at the sole option of the
Holder of this note. Installments not paid when due shall accrue
and draw interest at the rate of 7% per annum after their
respective maturities until paid.

Makers agree to pay and satisfy any and all taxes, ad valorem
taxes and special assessments of whatsoever nature, kind or
character, which may be levied or assessed against said real
property for 2015, and subsequent years, and, in the event that
Makers do not satisfy the same, the Holder of this note may, at its
sole option, pay the same, and said sum so paid by said Holder
shall be added to the amount of principal due hereunder, together
with interest thereon at the rate of 7% per annum, until paid.

Makers agree to keep and maintain the improvements upon said
premises (to the extent that they may be insurable) adequately
insured against loss from fire and windstorm and other hazards of
the elements in the total amount of $315,000.00, with loss payable
clause in favor of the Holder of this Note, and deliver all
policies of such insurance to the said Holder, with proper evidence
of Makers’ payment of all premiums thereon, and, in the event that
Makers do not maintain insurance thereon, the said Holder may, at
its sole option, pay the same, and said sum so paid by said Holder,
at the option of the Holder, may be added to the amount of
principal due hereunder, together with interest thereon at the rate
of 7% per annum, until paid, and the non-payment of said insurance
by Makers shall constitute a default in this Note, and the whole
sum of principal and interest shall become immediately due and
payable at the sole option ‘of the Holder of this note.

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The makers and endorsers hereby severally waive presentment
for payment, notice of non-payment, protest and notice of protest,
and agree that extensions of the time for payment may be granted by
the Holder hereof without notice. In case of legal proceedings to
collect this note, or in case this note is handed to an attorney
for collection, I, we, or either of us, agree to pay all reasonable
attorneys fees. Makers shall have the right to pay any multiple of
the installment at any installment payment date and shall have the
right to prepay all or any part of this Note without penalty.

This Note shall not be assigned or assumed by any person or
entity without -the prior express. written consent of the Holder.

Ahmrlos SLott— Goat beat —

Charles Dennis Lott ‘Loretta Bet! t

Babe?”
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BYRON DAVIS, Co. Treas.

PURCEASE-HONEY-REAL ESTATE MORTGAGE WITH POWER!

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OF SALE

KNOW ALL MEN BY THESE PRESENTS that Charles Dennis Lott and Loretta
Beth Lott, husband and wife, hereinafter called Mortgagors, hereby

Mortgages to Mark Lee Whitehead, Personal Representati

ve of the

Estate of Clara Lee Shawn, deceased, hereinafter called Mortgagee,

the following described real estate and premises, situat
County of Creek, State of Oklahoma, to-wit:

* Surface and Surface Rights Only tn and to
The SE/4 of Section 33, Township 18 North, Range 8
of the Indian Base and Meridian, Creek County, Stat

ed in the

East
@ of

Oklahoma, According To The U. S. Government Survey

Thereof,

together with all the improvements and appurtenances

thereunto

belonging (hereinafter referred to as the "Mortgaged Property").

Mortgagors warrant the title to same.

This Mortgage is given to secure the payment and/or performance of

Mortgagors' Promissory Note or Notes of even date with
sums, interest and maturity dates as follows, together
renewals thereof:

Promissory Note dated AYAIL 2, 2015, in
principal sum of $315,000.00, bearing interest at
rate of 7% per annum, payable as follows: $1,800.
the Jd day of Me , 2015, and $1,800.00 on the
day of each and evefy month thereafter for 17 mor
together with a final payment of all remaining prin

Beto be

and accrued interest due on the 2-_ day of
2016. :

Mortgagors further agree: (a) to pay the indebtedness a
the obligations secured hereby as and when such p
performance becomes due; (b) to pay and discharge all
assessments before the same become delinquent; (c) to
improvements insured and under policies which are accepta)
for the benefit of the Mortgagee; (d) to cure all title
clouds on or claims against Mortgagors' title which may a
discovered; (e) to keep all improvements in good cond
repair and to repair or replace any damaged or
improvements; (f£) to discharge any levies, liens, attach
other claims which may be asserted against the Mortgaged
In the event of the failure of the Mortgagors to fu
agreements of this paragraph, the Mortgagee may purchase
or pay taxes, assessments or other liens, and shali ha
secured by this Mortgage for the amount thereof with
thereon at the maximum rate of interest on any indebtedne
hereby.

This Mortgage cannot be assumed by any third party wi
prior express written consent of mortgagee.

Mortgagors hereby confer on Mortgagee the power to sel}
estate described herein and the interests of persons ther
manner provided in the "Oklahoma Power of Sale Mortgage F
Act", (Title 46, Oklahoma Statutes, Sections 43 through
Mortgagee, at its option, may either exercise the power

foreclose this Mortgage as provided by law in the

Mortgagors: (a) default in: the payment of any indebtednes
hereby; or (b) fail to perform any other covenant or
contained herein or in any other indebtedness, obli

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agreement of the Mortgagors to the Mortgagee; or (c) sell, convey,
transfer, mortgage, hypothecate, or in any other manner cease to be
the owners of all or any portion. or interest of the Mortgaged
Property. As often as any procééedings may be taken to| foreclose
this Mortgage, the Mortgagors agree to pay to the Mortgagee a
reasonable attorney's fee, in addition to other sums due, which
shall be secured hereby. Upon the due payment of the indebtedness
described above, and upon the performance of the other! covenants
and agreements hereof by the Mortgagors, this Mortgage shall become
null and void, and discharged of record at the cost of the
Mortgagee, which cost Mortgagee agrees to pay.

The Mortgagors, in the event of foreclosure hereunder, waive
appraisement of said premises, or not, at the optign of the
Mortgagee to be declared when the Petition to Foreclose is filed or
when judgment is taken.

 

 

IN WITNESS WHEREOF, the Mortgagors have hereunto exequted this
Purchase Money Real — Mortgage With Power of Sale this 2 ‘ ,
day of -

Chanlan at! —cbasc gle |
Charles Dennis LOtt oretta Bet

1
STATE OF OKLAHOMA, ) |
: ss. *
COUNTY OF CREEK. )

The foregoing instrument was acknowledged before me -Ehis 2.
day of APA, 2015, by Charles Dennis Lott and Loyétta Beth

Lott, husband and wife. :

: Notary Public
My Commission Expires:
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Commission No. 00014575

 

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Case 17-12124-M

Northern District of Oklahoma
Tulsa

Mon Oct 30 10:28:18 CDT 2017

CHIEF OFC OF SPEC LITIGATION
US Dept of Justice-Tax Div
P.0. Box 7238

Washington, DC 20044-7238

Creek County Treasurer
317 E. Lee Room 201
Sapulpa, OK 74066-4325

Internal Revenue Service
PO Box 7346
Philadelphia, PA 19101-7346

Charles Dennis Lott
11624 South 417th West Avenue
Bristow, OK 74010-8754

Midland Funding

Attn: Bankruptcy

Po Box 939069

San Diego, CA 92193-9069

Oklahoma Empl. Sec. Comm.
PO Box 53039
Oklahoma City, OK 73152-3039

(p) PROFESSIONAL DEBT MEDIATION
7948 BAYMEADOWS WAY

2ND FLOOR

JACKSONVILLE FL 32256-8539

St. John Medical Center
Dept 606
Tulsa, OK 74182-0606

U.S, Attorney

110 West Seventh Street
Suite 300

Tulsa, OK 74119-1013

Brown Law Firm PC
715 S. Elgin Ave.
Tulsa, OK 74120-4233

Cach LIC
4340 South Monaco Street
Denver, CO 80237-3485

Lonnie D. Eck
P.O. Box 2038
Tulsa, OK 74101-2038

(p) JEFFERSON CAPITAL SYSTEMS LLC
PO BOX 7999
SAINT CLOUD MN 56302-7999

Mark Whitehead

c/o Sam Allen

PO Box 230

Sapulpa, OK 74067-0230

Office of the United States Trustee
224 South Boulder Avenue

Suite 225

Tulsa, OK 74103-3026

(p) OKLAHOMA TAX COMMISSION
GENERAL COUNSEL $ OFFICE

100 N BROADWAY AVE SUITE 1500
OKLAHOMA CITY OK 73102-8601

Rausch, Sturm, Israel, Enerson & Hornik
9208 N. Kelley Ave.
Oklahoma City, OK 73131-2419

Tulsa Adjustment Bureau
Tab

1754 Utica Square Ste 283
Tulsa, OK 74114-1400

US SEC & EXCHANGE COMM.
Midwest Regional Office
175 W. Jackson Boulevard, Ste 900
Chicago, IL 60604-2815

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Attn: Bankruptcy
Po Box 1929
Stillwater, OK 74076-1929

Capital One

Attn: Bankruptcy

Po Box 30253

Salt Lake City, UT 84130-0253

First Premier
601 $ Minneapolis Ave
Sioux Falls, SD 57104

Keith Ham
PO Box 567
Bristow, OK 74010-0567

Mee, Mee, Hoge & Epperson, PLLP
50 Penn Place

1900 NW Expressway, Ste 1400
Oklahoma City, OK 73118-1801

Okla Empl. Sec. Comm.
P.0. Box 53039
Oklahoma City, OK 73152-3039

Online Collections
Po Box 1489
Winterville, NC 28590-1489

Santander Consumer USA
Po Box 961275
Fort Worth, TX 76161-0275

Tulsa County Treasurer
500 $. Denver

Suite 323

Tulsa, OK 74103-3840

Verizon

Verizon Wireless Bankruptcy Administrati
500 Tecnolgy Dr Ste 500

Weldon Springs, MO 63304-2225
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The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(£) and Fed.R.Bank.P, 2002 (g) (4).

Jefferson Capital Systems, LLC
16 Mcleland Rd
Saint Cloud, MN 56303

Professional Debt Mediation
7948 Bay Meadows Way

and floor

Jacksonville, FL 32256

Oklahoma Tax Commission (d) Oklahoma Tax Commission
120 N. Robinson - Suite 2000W 2501 N. Lincoln Blvd
Oklahoma City, OK 73102-7801 Oklahoma City, OK 73103

End of Label Matrix

Mailable recipients 29
Bypassed recipients 0
Total 29
